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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

DONNELL E. GILDER, JR.,                               )
                                                      )
                              Petitioner,             )
                                                      )
                         v.                           )       No. 1:18-cv-02096-JMS-DLP
                                                      )
UNITED STATES OF AMERICA,                             )
                                                      )
                              Respondent.             )


                                               ENTRY

         The petitioner’s motion to correct subject matter and/or clarify claims, dkt [21], is denied.

 The petition speaks for itself and the petitioner can use his reply brief to argue in support of his

 claims for relief.

         The petitioner’s “motion for leave to file for discovery” is a request for a copy of his

 sentencing and plea transcript. That motion, dkt [22], is granted. The clerk is directed to mail

 petitioner a copy of the Transcript of Plea and Sentencing Hearing held on July 10, 2017, available

 at docket number 63 in case number 1:16-cr-107-JMS-MJD-1.

         The petitioner’s “motion for plea and sentencing transcripts pursuant to 28 U.S.C. § 753(f)

 and related documents,” requests a copy of all notes and communications between defense counsel

 and the United States Attorney. This motion, dkt [23], is denied. Rule 6 of the Rules Governing

 § 2255 Proceedings specifically states that any request for discovery “must specify any requested

 documents,” and show good cause for the request. See Rule 6(a) and 6(b). There is no basis to

 conclude that the correspondence sought will assist the petitioner in advancing his claim for relief

 under § 2255, thus good cause for the request has not been shown. The petitioner’s motion

 references the Seventh Circuit’s opinion in United States v. Chavez, 623 F. App’x 816, 817 (7th
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 Cir. 2015), to advance his request. But the focus on Chavez, is obtaining copies of documents from

 the record. Id. (citing Smith v. U.S. District Court Officers, 203 F.3d 440, 441 (7th Cir. 2000) (“The

 public, including the parties to a suit, have a right of access to the records of a judicial

 proceeding.”). The correspondence sought by petitioner is not in the criminal case record.

        The petitioner shall have through June 24, 2019, in which to file any reply in support of

 his § 2255 motion.

        IT IS SO ORDERED.




                 Date: 5/20/2019




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